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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                          CORPUS CHRISTI DIVISION


ARTURO GARZA, LaQUINTA                §
JONES, AND DORIS MORALES,             §
INDIVIDUALLY, AND ON BEHALF           §
OF ALL OTHERS SIMILARY                §
SITUATED,                             §
          Plaintiffs,                 §
                                      §
VS.                                   §       CIVIL ACTION NO.: 2:22-cv-00079
                                      §
                                      §
HERRMAN & HERRMAN, PLLC,              §
GREG HERRMAN, STEVEN C.               §
STRATSO, KYZMYCK BYERLY,              §
RODNEY GLENN, HECTOR LUNA,            §
AND DOES 1 THROUGH 100,               §
                                      §
             Defendants.              §




                DEFENDANTS’ FRCP 12b(6) MOTION TO DISMISS
              PLAINTIFFS’ ORIGINAL CLASS ACTION COMPLAINT



J.A. Tony Canales                                  Patricia Canales Bell
Texas Bar No. 03737000                             Texas Bar No. 00793455
Tonycanales@canalessimonson.com                    pcb@canalessimonson.com


                           CANALES & SIMONSON, P.C.
                                2601 Morgan Avenue
                             Corpus Christi, Texas 78405
                               361.883.0601 telephone
                                361.884.7023 telefax



         ATTORNEYS FOR DEFENDANTS HERRMAN & HERRMAN, PLLC.,
           GREG HERRMAN, STEVEN C. STRATSO, KYZYCK BYERLY,
                  RODNEY GLENN, AND HECTOR LUNA.

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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION




ARTURO GARZA, LaQUINTA                        §
JONES, AND DORIS MORALES,                     §
INDIVIDUALLY, AND ON BEHALF                   §
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          Plaintiffs,                         §
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STRATSO, KYZMYCK BYERLY,                      §
RODNEY GLENN, HECTOR LUNA,                    §
AND DOES 1 THROUGH 100,                       §
                                              §
               Defendants.                    §


                 DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
                PLAINTIFFS’ ORIGINAL CLASS ACTION COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

       Defendants Herrman & Herrman, PLLC, Greg Herrman, Steven C. Stratso, Kyzmck

Byerly, Rodney Glenn, and Hector Luna (collectively, “Defendants”), file this motion to dismiss

for failure to state a claim for which relief may be granted pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure. In support thereof, Defendants show the Court as follows:

                                          I. SUMMARY

   1. Arturo Garza, LaQuinta Jones, and Doris Morales (Plaintiffs) bring causes of action

against Defendants Herrman & Herrman, PLLC (H&H); and its employees, Greg Herrman


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(Herrman); Steven C. Stratso (Stratso); Kyzmyck Byerly (Byerly), Rodney Glenn (Glenn), and

Hector Luna (Luna) alleging violations of the Racketeering Influenced and Corrupt

Organizations Act ,18 U.S.C. §§1962, et seq. (RICO), Common Law Fraud, Breach of Fiduciary

Duty, Conspiracy and Unjust Enrichment. Dkt. Entry 1. Plaintiffs’ allegations are a continuum

of litigation brought by Plaintiffs through the state courts, which were litigated through

discovery, and then voluntarily dismissed against Defendants H&H and Herrman. Now, in

addition to common law claims, Plaintiffs assert violations of the RICO statute under 18 U.S.C.

§1962(a), §1962(c) and §1962(d) against Defendants. Plaintiffs claim Defendants participated in

a pattern of racketeering activity (18 USC 1962(c)) consisting of acts of wire fraud (18 U.S.C.

§1343) and investment of received income from the alleged pattern of racketeering into the

enterprise (18 U.S.C. 1962(a)). Plaintiffs further allege defendants conspired to participate,

directly or indirectly, in the conduct of the affairs of the enterprise through a pattern of

racketeering activity in violation of 18 U.S.C. 1962(d). Dkt. Entry 1. This motion seeks

dismissal of all claims based on Federal Rule of Civil Procedure 12(b)(6), as plaintiffs have

failed to state a claim for which relief may be granted within the strict pleading requirements of

RICO. 18 U.S.C. §1962(a), §1962(c) and §1962(d).

                                    II. STATEMENT OF FACTS

   2. Each of the three named plaintiffs are former personal injury clients of Defendant law

firm, H&H. Each plaintiff entered into separate, identical, employment contracts for H&H

representation of their personal injury claims. Dkt. Entry 1, Exs.1-4. All terms of the contract are

disclosed to each Plaintiff in written form. Id. Garza executed two employment contracts with

H&H; the first on July 8, 2019, and the second on September 20, 2019. Id., Exs.1and 2. H&H

settled Garza’s first claim on October 16, 2019, and all funds were collected and dispersed



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according to the Employment Contract. Dkt. Entry 1, p. 25, ¶83. Morales executed her

employment contract with H&H on September 20, 2019. Id., Ex.4. Jones executed her

employment contract with H&H on November 11, 2019. Id., Ex.3.

   3. As to each plaintiff, the prosecution of their personal injury case commenced through

settlement negotiations with insurance adjusters, without filing a lawsuit on their behalf. In

addition to client authorizations, each employment contract outlined client rights and legal fees

and costs owed for professional services provided by H&H. Id., Exs.1-4. Specifically, Plaintiffs

authorized reasonable expenses or charges deemed expedient or necessary:

      Herman & Herman, P.L.L.C. is hereby authorized to obligate me for all
      necessary and reasonable expenses or charges deemed expedient or
      necessary in the investigation, presentation, prosecution, defense, or trial of
      such claims(s). The expenses to be reimbursed include, but are not limited
      to, court costs, consultants fees, postage, travel, and parking expenses. Each
      client whose case is settled without filing a lawsuit will be assessed an
      administrative fee of $195.00 to cover expenses for the following: black
      and white photocopies, postage, long distance phone calls, scanned
      documents, facisimilies and other miscellaneous supplies. All other
      expenses will be charged to client based on the actual cost.

      All client cases where a lawsuit is filed will not incur this fixed charged, but
      will be charged for all expenses, including the above expenses, incurred in
      the prosecution of the case. Id.

   4. The $195.00 administrative fee was a disclosed term of the Employment Contract,

negotiated in consideration for professional, legal services. On September 25, 2019, Morales

terminated her contract with H&H by letter titled “NOTICE OF RELEASE OF LEGAL

SERVICES.” Dkt. Entry 1, Ex.17. On October 17, 2019, by way of identical “Notice,” Garza

terminated H&H. Dkt. Entry 1, Ex.12. On November 27, 2019, Jones sent the same “Notice”

letter to H&H. Dkt. Entry 1, Ex.15. Immediately thereafter, Plaintiffs hired The Bandas Law

Firm, to pursue settlement of their personal injury claims. Dkt. Entry 1,¶¶ 89,105, 122.

Plaintiffs filed State District Court cases against H&H and Herrman (Cause No. 2020DCV-1662-

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H; Morales & Garza v. Greg Herrman, Attorney at Law and Herrman & Herrman, PLLC;in the

347th Judicial District of Nueces County, Texas; Cause No. 2021DCV-2168-C; Jones v. Greg

Herrman, Attorney at Law and Herrman & Herrman, PLLC; in the 94th Judicial District of

Nueces County, Texas). Dkt. Entry 1, p.37, ¶140. Each case has been nonsuited. Id. at p.38,

¶143.

                                III.   ARGUMENT AND AUTHORITIES

   A. The Applicable Legal Standard - RICO

   5. The Racketeer Influenced and Corrupt Organizations Act (RICO) is a criminal statute

targeted at the infiltration of organized crime into legitimate businesses. See Reves v. Ernst &

Young, 507 U.S. 170, 185, 113 S. Ct. 1163, 122 L. Ed. 2d 525 (1993). The civil enforcement

provisions of RICO are found at 18 U.S.C. § 1964(c). In order to be entitled to relief in a RICO

civil action, a plaintiff must show a violation of one or more of the four subsections of 18 U.S.C.

§1962. See 18 U.S.C. §1964(c). In their 111 page, Original Complaint (Dkt. Entry 1), Plaintiffs

assert civil RICO claims for:

        (a) violations of 18 U.S.C. § 1962(c) (participation in a criminal enterprise that conducts
            business through a pattern of racketeering activity) against Defendants Herrman,
            Stratso, Byerly, Glenn and Luna;

        (b) violations of § 1962(a) (investment of racketeering income) against Herrman and
            H&H; and

        (c) violations of §1962(d) (conspiring to violate subsections (a), (b), or (c) of §1962
            against Herrman, Stratso, Byerly, Glenn and Luna). See Dkt. Entry 1.

   6. Because the civil RICO statute is an unusually potent weapon that entitles a prevailing

plaintiff to treble damages, a RICO plaintiff must do more to defeat a motion to dismiss than

simply to assert an inequity attributable to a defendant's conduct and tack on the self-serving

conclusions that the conduct amounted to racketeering." Fuller v. Harrah's Entertainment, Inc.,


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2004 U.S. Dist. LEXIS 22097 (E.D. La. Oct. 29, 2004). Accordingly, "[a]t a bare minimum, a

civil RICO complaint must state facts sufficient to demonstrate (1) specific instances of

racketeering activity within the reach of the RICO statute; and (2) a causal nexus between that

activity and the harm alleged." Fuller, 2004 LEXIS 22097, at *2. In doing so, a RICO plaintiff

must also meet the pleading standards articulated in Bell Atl. Corp. v. Twombly, 550 U.S. 544

(2007)) and Ashcroft v. Iqbal, 556 U.S. 662, 129 S.Ct. 1937 (2009), which require that a

complaint "contain sufficient factual matter, accepted as true, to 'state a claim to relief that is

plausible on its face.'" Samson v. Colonial County Mat. Nationwide Ins. Co., No. 09-cv-1165,

2009 WL 7797234, at *1 (S.D. Tex. Nov. 23, 2009) (citing Iqbal, 129 S.Ct. at 1949) (applying

Twombly and Iqbal to RICO claims).

    7. In addition to these basic Fed. R. Civ.P. Rule 8 pleading standards, a plaintiff who hopes

to establish a mail or wire fraud violation as a RICO predicate act must meet the more stringent

pleading standards of Fed. R. Civ. P. 9(b). See O’Brien v. Nat’l Prop. Analyst Partners, 936

F.2d 674, 676 (2d Cir. 1991)(affirming dismissal of RICO claims for failure to plead fraud with

particularity). Furthermore, where fraud is alleged against multiple defendants, the complaint

should inform each defendant of the nature of his alleged participation in the purported fraud.

See Maruiber v. Shearson/Am. Express, Inc., 546 F. Supp. 391, 394 (S.D.N.Y. 1982). RICO

claims resting on allegations of fraud are no exception. William v. WMX Techs., 112 F.3d.

175,177 (5th Cir. 1997). These principles apply with particular force in civil RICO actions. Here,

the allegations that form the basis of Plaintiffs' RICO claim do not satisfy the pleading standards

set forth in Twombly, Iqbal and Rule 9(b).




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B. The Complaint Fails To State A Claim For Rico Violation 18 USC §1962(c).

   8. Plaintiffs claim that Defendants, in furtherance of their individual legal representation,

deliberately and fraudulently concealed a $195.00 administration fee in their contract for legal

services. See generally, Dkt. Entry 1. Despite the written affirmation of the $195 administrative

fee each client agreed to in their executed, Employment Contract, Plaintiffs claim Defendants

engaged in a scheme to defraud and obtain money by means of false or fraudulent representation.

Id. Further, Defendants, through a RICO enterprise, communicated with out-of-state insurers

involved in Plaintiffs’ cases via interstate internet wires as part of their scheme to collect the

unlawful and fraudulent $195 “administrative fee.” Id.

Plaintiffs’ RICO Claims are Fatally Deficient

   9. Plaintiffs plead that they are entitled to damages under RICO pursuant to 18 U.S.C.

1964(c). Id. In order to establish standing under Section 1964(c), a plaintiff first must show a

violation of Section 1962. See Cullom v. Hibernia Nat’l Bank, 859 F.2d 1211, 1214 (5th Cir. 1988).

Regarding the first required element – a violation of Section 1962 – the Plaintiffs allege that

Defendants Herrman, Stratso, Byerly, Glenn, and Luna violated subsection (c) of section 1962.

Section 1962(c) provides:

               It shall be unlawful for any person employed by or associated with
       any enterprise engaged in, or the activities of which affect, interstate or
       foreign commerce, to conduct or participate, directly or indirectly, in the
       conduct of such enterprise’s affairs through a pattern of racketeering
       activity or collection of unlawful debt. 18 U.S.C. §1962(c).
However, Plaintiffs fail to adequately state facts and a theory to support such a

violation.

   10. On the face of their pleading, Plaintiffs have failed to state a claim that relies on this

provision because they failed to properly plead an “enterprise,” and a “pattern of racketeering.”


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See In re Burzynski, 989 F.2d 733, 741 (5th Cir. 1993)(holding that a RICO claim was properly

dismissed under Rule 12(b)(6) because the plaintiff failed to properly plead a “pattern of

racketeering activity” and a RICO “enterprise”).

Plaintiffs failed to plead a “Pattern of Racketeering Activity.”

   11. The key element of a RICO claim under 1962(c) – a “pattern of racketeering activity” –

has two components: (1) predicate acts – the requisite racketeering activity, and (2) a pattern of

such acts. H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S. 229, 242-43 (1989). Plaintiffs fail to

state claims on each component.

The Predicate Act - Wire Fraud

   12. The Plaintiffs assert predicate acts of wire fraud in violation of 18 U.S.C. §1343.

Because Plaintiffs RICO claims are based on predicate acts of fraud, these claims are subject to

Rule 9(b)’s heightened pleading requirement. Williams v. WMX Technologies, Inc., 112 F.3d

175, 177 (5th Cir. 1997). The elements of wire fraud include (1) a scheme or artifice to defraud;

and (2) the use of wire communications in furtherance of the fraudulent scheme. United States v.

Rajwani, 476 F.3d 243, 247 (5th Cir. 2007). Plaintiffs fail to plead facts with particularity that

would constitute predicate acts of wire fraud.

   13. Plaintiff alleges “Stratso sent emails and letters to an out of state insurer to collect

payment on Garza’s claim, which include the $195 “administrative fee.” Dkt. Entry. 1, p. 57,

¶185. Further, Plaintiffs identify the following as predicate acts:

    •   October 21, 2019, fax from Stratso to Progressive Commercial, advising Progressive
        Commercial of Plaintiff Garza’s termination of legal services. Dkt. Entry 1, p. 66, ¶219
        and Ex. 13.

    •   May 12, 2020, email from Stratso to Progressive regarding the Morales and Garza
        Claims: “Can you please forward to the handling adjuster that our expenses are $198 per
        client and that we do agree to a 50/50 fee split?” Dkt. Entry 1, p.67,¶ 223 and Ex. 14.


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    •   “Later on May 12, 2020, Stratso sent an email to the handling adjuster Staci Snell in San
        Antonio, Texas again discussing “our interest int eh case.” Dkt. Entry 1, p. 223, Ex.14.

    •   “With respect to Garza’s prior accident that took place on July 6, 2019, an associate or
        employee of H&H communicated with an out of state insurer to collect payment,
        including the (alleged) fraudulent $195 administrative fee.” Dkt. Entry 1, p. 67, ¶ 224.

    •   “On December 9, 2019, H&H employee, Glenn faxed State Farm Insurance claims
        representative in Phoenix Arizona advising of H&H’s full interest in attorney’s fees and
        “office expenses of $195.00 in Laquinta Jones’ claim.” Dkt. Entry 1, ¶ 227 and Ex. 16.

    •   “Stratso attempted to collect “administrative fee” in relation to Morales’ claim by
        sending a fax on H&H’s behalf to Progressive Commercial in Island Heights, Ohio on
        October 21, 2019. Dkt. Entry 1, p. 68, ¶229 and Ex.18.

    •   “Numerous similar predicate acts of wire fraud were committed by these Defendants
        against their clients since early 2019, are ongoing and will continue into the future.” Dkt.
        Entry 1, p. 69,¶235.

   14. Plaintiffs predicate their RICO claims on wire fraud but fail to plead particularized facts

supporting its fraud allegations. Plaintiffs need to identify “who caused what to be mailed or

wired when” and to “allege specifically how each act of mail or wire fraud furthered the

fraudulent scheme.” FMC Int’l A.G. v. ABB Lummus Glob., Inc., 2006 WL 213948, at *4 (S.D.

Tex. Jan. 24, 2006). Plaintiffs fail to identify with specificity, how each act of alleged wire fraud

furthered the alleged fraudulent scheme regarding the $195 administrative fee. The emails and

faxes Plaintiffs refer to are further evidence of contractual terms of the employment contract

each plaintiff entered with H&H and are all actions taken during the ordinary course of business.

Nothing about the alleged circumstances in which these communications occurred permit the

Court to draw inference – much less a strong inference – that Defendants acted with the requisite

fraudulent intent. Rather, the circumstances alleged permit an equal, if not greater Inference that

the defendants’ conduct, in communicating with third party insurance companies as per terms of

their contract entered into by the parties, was lawful. Plaintiffs “have not nudged their claims

across the line from conceivable to plausible.” Twombly, 550 U.S. at 570.
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The Pattern of Predicate Acts with Continuity.

   15. Plaintiffs have failed to plead a “pattern” of such predicate acts as alleged. To prove a

pattern of racketeering, a RICO plaintiff must show that each defendant engaged in long-term

criminal conduct that was both related and continuous. H.J. Inc. v. Northwestern Bell Telephone

Co., 492 U.S. 229, 237 (1989). A RICO plaintiff must plead such a “pattern” by pleading both

the predicate acts are related to each other and that they either constitute or threaten long-term,

continuing criminal activity. H.J. Inc., 492 U.S. at 239; Burzynski, 989 F.2d at 742. In other

words, the predicate acts must be both “related” to each other and have “continuity.” H.J. Inc.,

492 U.S. at 239. Further, a pattern of racketeering activity must include two or more acts of

racketeering activity. See 18 U.S.C. § 1961(5). Plaintiffs have failed to do so.

   16. Continuity is established by a plaintiff’s proving “continuity of racketeering activity, or

its threat.” H.J. Inc., at 241. This can be shown either by a closed period of repeated conduct, or

by an open-ended period of conduct that “by its nature projects into the future with a threat of

repetition.” Id. at 241. A closed period of conduct may be demonstrated “by proving a series of

related predicates extending over a substantial period of time.” Id. at 242. “Predicate acts

extending over a few weeks or months…do not satisfy this requirement.” Id. An open period of

conduct involves the establishment of “a threat of continued racketeering activity.” Id. By its

enactment of RICO, Congress was concerned with “long-term criminal conduct.” Id.

   17. Plaintiffs have failed to plead any predicate acts, much less two acts, committed by

Defendants that were ongoing over a significant period of time or that present a threat of

repetition in the future. All alleged, predicate acts of wire fraud occurred during the time period

July 8, 2019, through May 2020. See Dkt. Entry 1. Each predicate act as alleged is the result of a

single transaction – the employment contract Plaintiffs entered into with H&H.



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   18. The Fifth Circuit does not countenance a RICO claim where alleged predicate acts relate

to a single, lawful event. The employment contract entered into by each Plaintiff constitutes a

discreet lawful event that has now ended and therefore, the related wired communications do not

threaten ongoing alleged criminal activity. Plaintiffs underlying personal injury representation

with H&H has ended as does any threat to ongoing criminal activity constituting “racketeering

activity.” Therefore, Plaintiffs’ allegations do not permit a plausible inference that Defendants

engaged in a “pattern” of racketeering activity.

Plaintiffs Fail to Plead the Existence of an Enterprise.

   19. In order to avoid dismissal for failure to state a claim, a plaintiff must plead specific facts,

not mere conclusory allegations, which establish the existence of an enterprise." Elliott v.

Foufas, 867 F.2d 877, 881 (5th Cir. 1989). “A RICO ‘enterprise can be either a legal entity or an

‘‘association in fact' enterprise." In re Burzynski, 989 F.2d 733, 743 (5th Cir. 1993). "The

enterprise must be 'an entity separate and apart from the pattern of activity in which it

engages.'" Elliot, 867 F.2d at 881."If a defendant is a legal entity, the plaintiffs must do more

than merely establish that the corporation, through its agents, committed the predicate acts in the

conduct of its own business." Id. Plaintiffs must also allege the "enterprise" engaged in, or the

activities of the "enterprise" affect, interstate, or foreign commerce. See §1962(a) and (c).

   20. Here, Plaintiffs allege the RICO enterprise is H&H, a professional limited liability

corporation served as the vehicle for racketeering activities by its employees/defendants. Dkt.

Entry 1, p.50, ¶162. Plaintiffs identify Herrman as the managing partner and director of the

enterprise. Id., p. 53, ¶170. Plaintiffs identify each of the individual defendant/employee as a

RICO person and allege each “agreed to conduct the affairs of the RICO Enterprise.” See Dkt.

Entry No. 1, pp. 53-64. Plaintiffs allege each RICO person named committed predicate acts in


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furtherance of the conspiracy. Id. Failure to demonstrate separation of the person from the

enterprise is fatal to Plaintiffs RICO claims. See Elliott, 867 F.2d 877, 881 (5th Cir. 1989).

   21. The fact that officers or employees of a corporation, in the course of their employment,

associate to commit predicate acts does not establish an association-in-fact enterprise distinct

from the corporation. Id. Further, Plaintiffs fail to suggest how the communications that

allegedly advanced the RICO scheme violated federal law because they appeared to be nothing

more than "routine business correspondence." Id. at 882.

   22. The alleged predicate acts committed by Defendants, such as email and faxes to out of state

insurance companies, were committed by agents or officers of the corporation in the ordinary

course of business. There are no allegations demonstrating an association beyond one in the course

of employment by H&H. Parker & Parsley Petroleum Co. v. Dresser Indus., 972 F.2d 580, 583

(5th Cir. 1992), reaffirms the court's perspective by finding that a "defendant corporate entity

functioning through its employees in the course of their employment" does not constitute a RICO

enterprise.

   23. Plaintiffs do not allege that Defendant H&H is both the RICO enterprise and a member of

the association in fact, but the caselaw indicates that a RICO plaintiff cannot circumvent the

enterprise/person and the enterprise/activity distinctiveness requirements by creative pleading.

The acts alleged consisted of nothing more than H&H employees ordinary course of business.

Communicating with insurance companies while handling a personal injury claim are directly

related to activities of a Law Firm. Plaintiffs has failed to allege that Defendants were associated

in any way separate from the activities of H&H.

   24. The RICO violations alleged by Plaintiffs in this lawsuit under 18 U.S.C. §§ 1962 (c) and

(d) (discussed infra) require the presence of an enterprise. Manax v. McNamara, 842 F.2d 808,



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812 (5th Cir. 1988). No conspiracy to violate Section 1962(c) can exist without a violation of

Section 1962(d). Therefore, the RICO cause of action should be dismissed in its entirety.

No Injury due to Commission of a Predicate Act

   25. A RICO plaintiff must show that the injury alleged was due to the defendant’s

commission of a predicate act. See Hamm v. Rhone-Poulenc Rorer Pharmaceuticals, Inc., 187

F.3d 941, 952 (8th Cir. 1999) (“The class of persons who may sue under RICO is limited to

those whose injuries were directly caused by RICO violations. As explained by the Supreme

Court in Sedima, S.P.R.L. v. Imrex Co., Inc., 473 U.S. 479 (1985), an actionable RICO injury

must be caused by the predicate acts alleged, because the essence of a RICO claim is the

commission of predicate acts within the conduct of an enterprise. See Id. at 497. A RICO

plaintiff’s failure to allege that a specifically identified predicate act proximately caused his

injury is grounds for dismissal at the pleading stage. Hamm, 187 F.3d at 952 (stating that the

plaintiff must be injured by the conduct constituting the racketeering activity). To show that

their injury was "by reason of" a RICO violation, a plaintiff must show that a predicate offense

"not only was a 'but for' cause of his injury, but a proximate cause as well." Holmes v. SIPC, 503

U.S. 258, 268 (1992).

   26. Here, the Plaintiffs have alleged the “administrative fee” they each accepted as part of

their employment contract with H&H, has damaged them. See Dkt. Entry 1. However, plaintiffs

can show no predicate act committed by Defendants, via wire fraud, which caused any alleged

injury. Proximate causation under RICO is evaluated in light of its common-law foundations.

Hemi Group, LLC v. City of New York, 559 U.S. 1 (2010). As such, the central question a court

must ask is whether the alleged violation led directly to a plaintiff's injuries. Anza v. Ideal Steel

Supply Corp., 547 U.S. 451, 461 (2006). If the alleged link between the defendant's conduct and



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the plaintiff's injury is "indirect," "too remote," or "purely contingent," the complaint fails to

satisfy the requirement of proximate cause. Hemi, 559 U.S. at 2 (quoting Holmes, 503 U.S. at

271, 274).

   27. Fraud allegations centered on a term of an agreed to Employment Contract does not

elevate H&H into a criminal enterprise any more than alleging that an agreed administrative fee

is a RICO “injury.” The gravamen of Plaintiffs’ allegations are not injury due to a “predicate

act” under the RICO statutes. The only injury Plaintiffs claim to have suffered was a potential

loss of some portion of a $195 administration fee. The injury, however, was not caused by the

predicate acts of wire fraud directed at insurance groups. Such an injury is too remote or indirect

to have been caused "by reason" of the Defendants' alleged RICO violations and the predicate

acts themselves. Here, as in Hemi, there is a disconnect between the Defendants' alleged RICO

violation and Plaintiffs' alleged injury. Hemi, 530 U.S. at 11. For the reasons stated within,

Plaintiffs’ Complaint must be dismissed for failure to allege an injury proximately cause by a

violation of 18 USC §1962(c).

C. Plaintiffs Fail to State a Specific Injury Under RICO 18 USC §1962(a).

   28. Plaintiffs bring allegations of 18 U.S.C. §1962(a) against Defendants Herrman and H&H

asserting that Defendants used and invested profit from the pattern of racketeering activity in

administering the fraudulent “administrative fees” for the benefit and perpetuation of the

racketeering enterprise, H&H and the fraudulent “administrative fee” scheme.” Dkt. Entry 1,

¶249. Further, Plaintiffs allege that “since H&H derived financial benefit from Herrman’s

investment of income received from a pattern of racketeering activity, H&H is vicariously liable

for his acts under 1962(a).” Id. at ¶ 252.




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   29. To adequately state a claim under Section 1962(a), a plaintiff must plead: “‘(1) the

existence of an enterprise, (2) the defendant’s derivation of income from a pattern of

racketeering activity, and (3) the use of any part of that income in acquiring an interest in or

operating the enterprise.’” N. Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d

182, 202 (5th Cir. 2015). A plaintiff must also plead a nexus between the alleged violation and

each individual plaintiff’s injury. Id. The complained-of injury must flow from the investment of

or use of racketeering income. See Crowe v. Henry, 43 F.3d 198, 205. The lack of a nexus in a

Section 1962(a) allegation is fatal because “[a]n injury arising ‘solely from the predicate

racketeering acts themselves is not sufficient.’” Abraham v. Singh, 480 F.3d 351, 356 (5th Cir.

2007) (quoting Nolen v. Nucentrix Broadband Networks, Inc., 293 F.3d 926, 929 (5th Cir. 2002).

   30. Here, Plaintiffs Original Complaint wholly fails to plead a cause under Section 1962(a).

Fatal to their cause is the lack of explanation as to how the investment or use of alleged

racketeering income specifically injured each plaintiff. Nolen, 293 F.3d at 929. Plaintiffs

generally allege that "Plaintiffs have been injured in their business and property in that, on

information and belief, collection of the fraudulent “administrative fee” through wire fraud has

been invested back into H&H and has funded successive racketeering acts, including imposition

of the fraudulent $195 “administrative fee “against Plaintiffs." Dkt. Entry 1, ¶251.

       31. The Complaint does not allege that the use of the proceeds from the alleged fraud

caused any injury independent of the harm caused by the predicate acts nor does it satisfy a

nexus between the alleged violation and each of Plaintiffs’ Garza, Morales or Jones individual

injury. As such, Plaintiffs fail to state a claim for violation of 18 U.S.C. § 1962(a).

D. Plaintiffs Fail to State a RICO Conspiracy §18 USC 1962 (d)

   32. "In order to demonstrate a RICO conspiracy under § 1962(d), Plaintiffs must

demonstrate (1) that two or more people agreed to commit a substantive RICO offense and (2)

that [Defendants] knew of and agreed to the overall objective of the RICO offense." Chaney v.

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Dreyfus Serv. Corp., 595 F.3d 219, 239 (5th Cir. 2010). "[B]ecause the core of a RICO civil

conspiracy is an agreement to commit predicate acts, a RICO civil conspiracy complaint, at the

very least, must allege specifically such an agreement." Tel-Phonic Services, Inc. v. TBS Int'l,

Inc., 975 F.2d 1134, 1140 (5th Cir. 1992).

       33. Plaintiffs allege that “Defendants (Herrman, Stratso, Byerly, Glenn, and Luna)

conspired to conduct or participate, directly or indirectly, in the conduct of the affairs of the

enterprise through a pattern of racketeering activity, i.e., the assessment and collection of the

fraudulent “administrative fee” through Wire Fraud.” Dkt. Entry 1, ¶256. At to each defendant,

plaintiffs allege: Herman: “agreed to direct the RICO enterprise through a pattern of racketeering

activity…” Id. at ¶257; Stratso, and Byerly: “agreed to carry out the fraudulent and unlawful

“administrative fee” scheme by signing client representation agreements…” Dkt. Entry 1,¶¶258-

259; Glenn: “agreed to carry out the fraudulent and unlawful “administrative fee” scheme by

sending interstate faxes to insurers…”(Id. at ¶260) and Luna: “agreed to carry out the fraudulent

and unlawful “administrative fee” by having clients sign the agreements…” Id. at ¶261.

       34. Plaintiffs complaint fails to allege specifically, any agreement to commit predicate

acts as alleged in their conspiracy and thus fails to state a claim under 1962(d). See Tel-Phonic

Servs., 975 F.2d at 1140. Plaintiffs’ allegations of Defendants’ association as co-worker, ,are

not evidence of conspiracy. Chaney, 595 F.3d at 239 (citing Marlin v. Moody Nat'l Bank, N.A.,

248 F. App'x 534 (5th Cir. 2007)).

       35. Plaintiffs allegations of an agreement between defendants to “to carry out the

fraudulent and unlawful “administrative fee scheme” are insufficient. Dkt. Entry 1,¶ para 257-

261. "[S]imply alleging the existence of an agreement...is not sufficient," See Tel-Phonic Servs.,

Inc., 975 F.2d 1134, 1140 (5th Cir. 1992)(conspiracy allegations insufficient where the plaintiffs


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fail to "allege facts implying any agreement involving each of the Defendants to commit at least

two predicate acts."). Plaintiffs allege nothing more than conclusions that the defendants "agreed

to carry out" or "directed " in violation of the RICO statute. These allegations fail to state a claim

under § 1962(d) and must be dismissed.

       36. As outlined above, Plaintiffs have failed to state a §1962 (c) claim under RICO

conspiracy. As such, their claims under §1962(d) fail as well. Pan Am. Mar., Inc. v. Esco

Marine, Inc., No. 04-cv-188, 2005 WL 1155149, at *8 (S.D. Tex. May 10, 2005).

E. The Court Should Decline to Exercise Supplemental Jurisdiction.

       37. Absent Plaintiffs’ RICO claims, no other basis exists to support this Court’s subject

matter jurisdiction over this lawsuit. When a Court grants a motion to dismiss for failure to state

a federal claim, the court generally retains discretion to exercise supplemental jurisdiction

pursuant to 28 U.S.C. §2367, over pendant state claims. Carslbad Technology Inc., v. HIF Bio,

Inc., 556 U.S. 635 (2009). The only remaining claims before the court are claims for Common

Law Fraud, Breach of Fiduciary Duty, Conspiracy and Unjust Enrichment. See Dkt. Entry 1.

Given the lack of Federal interest in the remaining portions of this suit, the centrality of

remaining issues is to Texas law, and the lack of diversity between the parties, Defendant’s

respectfully request that this court decline to exercise supplemental jurisdiction over the

remainder of Plaintiffs’ claims.



                                   CONCLUSION AND PRAYER

   38. All claims asserted by the Plaintiffs in their Original Complaint against Defendants as

violations under RICO must be dismissed under Rule 12(b)(6) for failure to state those claims.




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Plaintiffs Original Complaint demonstrates that there are no set facts upon which relief for these

claims may be granted as against Defendants. See Fed.R.Civ.P. 12(b)(6).

        WHEREFORE, PREMISES CONSIDERED, Defendants respectfully pray the Court

grant Defendants’ Motion to Dismiss in its entirety with prejudice, and grant Defendants all

other relief to which it is entitled.

Word Count: 4,992



                                                     /S/ Patricia Canales Bell
                                                     J.A. Tony Canales
                                                     Texas Bar No. 03737000
                                                     Federal ID No. 1163
                                                     Patricia Canales Bell
                                                     Texas Bar No. 00793455
                                                     Federal ID No. 19506
                                                     CANALES & SIMONSON, P.C.
                                                     2601 Morgan Avenue
                                                     Corpus Christi, Texas 78405
                                                     361.883.0601 telephone
                                                     361.884.7023 telefax
                                                     tonycanales@canalessimonson.com
                                                     pcb@canalessimonson.com

                                                     ATTORNEYS FOR DEFENDANTS
                                                     HERRMAN & HERRMAN, PLLC,
                                                     GREG HERRMAN, STEVEN C.
                                                     STRATSO, KYZMYCK BYERLY,
                                                     RODNEY GLENN, and HECTOR LUNA




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                               CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the foregoing has been forwarded,

 VIA ELECTRONIC FILING, to the below listed counsel, in accordance with the Federal

 Rules of Civil Procedure this 20th day of June, 2022.

       Further, in accordance with section 15(b) Motions to dismiss or for judgment on the

pleadings in civil cases as listed in Judge Tipton’s Court Procedures, I counsel has conferred

regarding this motion




                                                     /s/ Patricia Canales Bell
                                                     Patricia Canales Bell.




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